Case 1:11-cv-01787-MSK-MJW Document 93-1 Filed 01/20/14 USDC Colorado Page 1 of 1
                                                                                                                              EXHIBIT A
                               SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                  FOR THE PERIOD BEGINNING:                      December 1, 2013                         AND ENDING :            December31, 2013

    Name of Debtor: TRILLION PARTNERS, INC.                                                               Case Number:            11-cv-01787-MSK-MJW

                                                                                                               CURRENT
                                                                                                                MONTH

     1. FUNDS AT BEGINNING OF PERIOD                                                                              449,886.46      (a)
     1. RECEIPTS:
      A. Customer Collections at Trillion
      B. Customer Collections in Lockbox
      C. Received ITem Secured Lenders
      D. Other Receipts                                                                                              2,130.63

     2. TOTAL RECEIPTS                                                                                               2,130.63

     TOTAL FUNDS AVAILABLE FOR
        OPERATIONS                                                                                                452, 017.09

     3. DISBURSEMENTS
      A    Advertising
       B   Bank /Credit Card Charges                                                                                     140.00
      C    Contract Labor
      D    Fixed Asset Payments
       E   Insurance
      F    Inv entory Payments
      G    Leases                                                                                                    1 746.04
      H    Circuits
       I   Office Supplies
       J   Payroll - Net
       K   Professional Fees
      K1          Alvarez & Marsal
      K2          McElroy, Deutsch, Mulvaney & Carpenter
      K3          Horowwitz & Burnett, P.C.
      K4          Wiley Rein
      K5          Greg Vorj.
      K6          Ford & Harrison
      K7          Real Estate Tax Consultants
      K8          Winstead P.C.
      K9          Grimshaw & Haring
     K1 0         Ewell, Bickham, Brown & Rabb L
     K11          Smith,Angderson, Blount, Dorsett
     K12          Cari anne Weston
     K13          Madison Sproul Partners
     K14          Alvarez & Marsal Taxand, LLC
     K15          Brown Rudnick
     K16          Lerman Senter
     K1 7         Burr & Foreman                                                                                   19 697.14
       L   Rent
      M    Repairs & Maintenance
      N    Secured Creditor Payments
      0    Taxes Paid - Payroll
       P   Taxes Paid - Sales & Use
      Q    Taxes Paid- Other
       R   Telephone
       S   Travel & Entertainment
       T   Utilities
      U    Vehicle Expenses
     U1    Bear Reimbursements
     U2 Payroll Contributions
     U3 Tran sfer to Escrow Account on behalf of Secured Creditors
     U4 Disbursement ITem Vectra Bank to Trillion
     US Disbursement ITem US Bank to Vectra
       V   Other Operatin g Expenses                                                                                 1 479.69
      W    Transfer to Receivership Wealth Management Account
       X   Tran sfer to TX Communications
     Excess prior months checks cleared over current month checks uncleared                                        257 249.40
     4. TOTAL DISBURSEMENTS (Sum of 3A tiTu V)                                                                     280,312.27
     5. NET CASH FLOW FOR PERIOD                                                                                  (278, 181 .64)
     7. ENDING BALANCE (Une 4 Minus Une 6)                                                                         171 704.8 2 (c )
                                                                                         Chedc

     I declare under penalty or perjury that this statement and the accompanying documents and reports are true
     and correct to the best of my knowledge and belief.

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     This _ _...;;;                                                               20~14!..--------         s/ Byron P. Smy!
                                                                                                                                  (Signature)

     ( a) This number is carried forward ITem last month's report. For the first report only, this number will be the
           balance as of the receivership date.
     ( b ) This figure will not change ITom month to month. It is always the amount of funds on hand as of the date of
           the receivership
     (c) These two amounts wi ll always be the same if form is compl et ed correctly.



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